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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

FIDEL ZELEKE,
Plaintiff,
vs.

SP PLUS CORPORATION,
Defendant.

No. 2:19-cv-00938-BJR

JOINT STIPULATION AND
ORDER OF DISMISSAL WITH
PREJUDICE

 

 

COMES NOW Plaintiff Fidel Zeleke and Defendant SP Plus Corporation, by and through their

undersigned counsel, and stipulate, pursuant to FRCP 41(a)(1) that this case be dismissed with prejudice

and with each party to bear its own costs and attorney fees.

RESPECTFULLY SUBMITTED this 30th day of October, 2020.

/s/ Rodney R. Moody
Rodney R. Moody, WSBA #17416
Attorney for Plaintiff

JOINT STIPULATION AND ORDER OF DISMISSAL
WITH PREJUDICE
Page 1 of 2

/s/ Diana Danzberger
Diana Danzberger, WSBA #24818
Attorney for Defendant SP Plus Corporation

Law Office of
RODNEY R. MOODY
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Everett, WA 98201
WSBA #17416
(425) 740-2940 Fax (425) 740-2941

 
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ORDER
Based upon the foregoing stipulation of the parties, it is hereby:
ORDERED that the above-captioned matter be dismissed with prejudice as to all parties

and without an award of costs or attorney’s fees to any party.

DATED this 5th day of November, 2020.

Rerun. | Peeters,

THE HONORABLE BARBARA J. ROTHSTEIN
United States District Court Judge

 

JOINT STIPULATION AND ORDER OF DISMISSAL Law Office of
WITH PREJUDICE RODNEY R. MOODY
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